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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES INSTITUTE FOR PEACE,
et al.,

               Plaintiffs,

       v.
                                                         Civil Action No. 25-0804 (BAH)
KENNETH JACKSON, in his official capacity
as Assistant to the Administrator for
Management and Resources for USAID, et al.,

               Defendants.


         OPPOSITION TO MOTION PURSUANT TO THE ALL WRITS ACT

       Defendants respectfully submit this response to the Plaintiffs’ motion pursuant to the All

Writs Act for a status conference and to suspend transfer of institute property to the General

Services Administration (“GSA”) (ECF No. 14, “Motion”). Plaintiffs’ Motion is devoid of

merit, and the Court should swiftly deny it.

       When initially filing this suit, Plaintiffs pursued the procedural route available to them to

seek to enjoin the Government from replacing the board of directors (the “board”) of the U.S.

Institute of Peace (the “Institute”) and proceeding with its directives under Executive

Order 14,217 to reduce the Institute to its “minimum presence and function required by law[.]”

Exec. Order 14,217 § 2, 90 Fed. Reg. 10577 (Feb. 19, 2025). This Court denied Plaintiffs’

request for provisional relief, refusing to reinstate the former board members and Ambassador

George E. Moose as the Institute’s president. The Court’s order allowed the Institute’s new

leadership to perform their duties, including complying with the President’s Executive Order,

and the United States remains under no judicial command to halt its activities in that regard.
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       Plaintiffs now complain that the Institute and its new leadership are taking those very

steps to implement the President’s Executive Order. In so doing, Plaintiffs present an intra-

Executive Branch dispute or a dispute for which they lack standing to pursue. Also, Plaintiffs

tee-up this dispute without even attempting to demonstrate a likelihood of success on the merits

or the other requirements necessary for provisional injunctive relief. Lastly, on the merits, the

Institute and its new leadership have complied fully with all laws regarding the transfer of excess

property between executive agencies. For these reasons, Plaintiffs’ new Motion finds no legal

footing, and the Court should swiftly deny it.

I.     Plaintiffs Have No Legal Authority to Sue as the Institute or in Their Official
       Capacities.

       As an initial matter, the Amended Complaint puzzlingly continues to list the Institute and

its former board members in their official capacities as plaintiffs. Am. Compl. (ECF No. 12)

at 1. But the Amended Complaint makes clear that the plaintiff former board members were

removed from their positions by the President, id. ¶ 50, and Moose is no longer the president of

the Institute, having been removed by the board as it was constituted on March 14, 2025, id.

¶¶ 52–53. While Moose and the former board members may contest their removals through this

action, they have no authority to pretend that they were not in-fact removed from their positions.

The Institute’s new leadership has not authorized the filing of the Amended Complaint, and the

former board members no longer hold the offices they purport to sue under. Accordingly, the

undersigned is aware of no legal basis for the Amended Complaint continuing to name the

Institute and the former board members in their official capacities as plaintiffs.

       To the extent the Court believes the Institute and the former board members in their

official capacities are proper plaintiffs and the current Motion is brought by those plaintiffs, there

exist significant justiciability concerns. The Institute is a wholly owned government corporation



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and, thus, an “executive agency” as a matter of law. See 22 U.S.C. § 4603(b); 5 U.S.C. §§ 103,

105. Accordingly, any dispute between, on the one hand, the Institute and its directors in their

official capacities and, on the other, other Executive Branch officers and employees, is a dispute

between components of the Executive Branch. Absent rare circumstances, the Judicial Branch’s

authority typically does not extend to resolve such intra-Article II disputes. See, e.g., U.S. Postal

Serv. v. Postal Regul. Comm’n, 963 F.3d 137, 143 (D.C. Cir. 2020) (Rao, J., concurring)

(“because agencies involved in intra-Executive Branch disputes are not adverse to one another

(rather, they are both subordinate parts of a single organization headed by one CEO), such

disputes do not appear to constitute a case or controversy for purposes of Article III” (quoting

SEC v. Fed. Lab. Rels. Auth., 568 F.3d 990, 997 (D.C. Cir. 2009) (Kavanaugh, J., concurring)).

       To the extent Plaintiffs bring their new Motion solely in their individual capacities, the

Motion equally fails at the threshold. Plaintiffs in their individual capacities may have an

interest in being reinstated to their former positions, but they are currently not being injured in

that capacity by the Government operating an executive agency without them. Harris v. Trump,

No. 25-5037, 2025 U.S. App. LEXIS 7301, at *48 (D.C. Cir. Mar. 28, 2025) (Walker, J.,

concurring), pet. for en banc consideration filed (dismissed officials’ interests in being deprived

of fulfilling mandates of their former offices were “institutional interests, not personal interests,

so we may take them into account only as they relate to the public interest”). The public interest

here is permitting the President to carry out his policies as he promised the electorate he would

do. Although Plaintiffs’ policy views may differ from those of the current administration, “only

through the President can the Executive Branch and its millions of personnel be held

democratically accountable.     Allowing another branch of government to insulate executive

officers from presidential control—whether by congressional statute or judicial injunction—




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would sever a key constitutional link between the People and their government.” Dellinger v.

Bessent, No. 25-5028, 2025 WL 559669, at *17 (D.C. Cir. Feb. 15, 2025); see also Harris, 2025

U.S. App. LEXIS 7301, at *60 (Henderson, J., concurring) (“[I]t is far from clear that [the

dismissed officials] may assert rights against the executive branch on behalf of their offices or

agencies as opposed to themselves personally[.]”).

       Under any formulation, Plaintiffs’ Motion raises substantial justiciability concerns at the

threshold, which should prompt the Court to deny it.

II.    The All Writs Act Does Not Obviate the Need for Plaintiffs to Demonstrate a
       Likelihood of Irreparable Harm

       It is well-established that before either a preliminary injunction or a temporary restraining

order may issue, a movant must establish a likelihood of success on the merits and irreparable

harm (among other showings). Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20, 22 (2008).

Plaintiffs’ new Motion makes no attempt to demonstrate any likelihood of succeeding on their

claims. 1 Instead, Plaintiffs appear to argue that the Judicial Branch can enjoin the Executive

Branch under the All Writs Act without making such a showing here. Plaintiffs are mistaken.




1
        The D.C. Circuit’s order from Friday in Harris, 2025 U.S. App. LEXIS 7301, pet. for en
banc consideration filed, further underscores the lack of any likelihood for plaintiffs to succeed
in this action. In that matter, dismissed members of the Merit Systems Protection Board
(“MSPB”) and the National Labor Relations Board (“NLRB”) sued the Government contending
their terminations were unlawful under the “for cause” removal provisions of the relevant
statutes and Humphrey’s Executor v. United States, 295 U.S. 602 (1935). A panel of the D.C.
Circuit stayed district court injunctions that reinstated the officials on the grounds that Myers v.
United States, 272 U.S. 52 (1926), and its progeny, rather Humphrey’s Executor controlled. This
is so despite the MSPB and NLRB exercising rulemaking and adjudication functions, which
appellees argued were akin to the “quasi-judicial and quasi-legislative” functions on which the
Court in Humphrey’s Executor rested its opinion. The Institute has no such functions, and thus,
the merits here are clear. If the for-cause removal provisions for MSPB and NLRB members
cannot insulate them from presidential removal, the Institute’s statutory provisions plainly
provide no protections for the plaintiff board members here.


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       Courts of appeals have consistently rejected the use of the All Writs Act to create

remedies when sources of law already provide parallel ones. Fla. Med. Ass’n, Inc. v. Dep’t of

Health, Ed. & Welfare, 601 F.2d 199, 202 (5th Cir. 1979) (“While the All Writs Act empowers a

district court to fashion extraordinary remedies when the need arises, it does not authorize a

district court to promulgate an Ad hoc procedural code whenever compliance with the Rules

proves inconvenient.”). Others have held that Rule 65 governs the issuance of temporary

restraining orders and preliminary injunction orders, and thus is controlling even under the All

Writs Act. Ben David v. Travisono, 495 F.2d 562, 563 (1st Cir. 1974) (“Whether proceeding

under the [All Writs Act] or not, a district court has no license to ignore [Rule 65.]”); Schiavo ex

rel. Schindler v. Schiavo, 403 F.3d 1223, 1229 (11th Cir. 2005) (“[W]here the relief sought is in

essence a preliminary injunction, the All Writs Act is not available because other, adequate

remedies at law exist, namely [Rule] 65, which provides for temporary restraining orders and

preliminary injunctions.”).

       Against this well-established law, Plaintiffs’ Motion cites a series of inapposite cases.

See Mot. (ECF No. 14) at 4–5. For example, Plaintiffs cite Al-Anazi v. Bush, 370 F. Supp. 2d

188, 193 (D.D.C. 2005) (Bates, J.), a habeas case, in support of their request for interim relief.

But Al-Anazi concerned a motion for preliminary injunction where the Court considered all the

Winter factors and ultimately denied the motion. In so doing, Judge Bates rejected the use of the

All Writs Act as an alternative to the requested preliminary injunction. Id. at 196 (“[T]here is no

justification for issuance of an injunction pursuant to the All Writs Act[.]”). Klay v. United

Healthgroup, Inc., 376 F.3d 1092 (11th Cir. 2004), is also far removed from the situation here.

In Klay, a class of physicians sued insurance companies, and the parties disputed at the threshold

whether the claims were arbitrable. Id. at 1095. The district court determined that some claims




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were arbitrable and others were not and issued an injunction under the All Writs Act enjoining

the parties from arbitrating the non-arbitrable claims. Id. The Eleventh Circuit reversed on the

merits but, in so doing, held that the All Writs Act was an appropriate authority to use in issuing

an injunction against arbitration. It did so recognizing that the arbitrable dispute was not a form

of preliminary injunction, but instead, an order to protect its ruling that the claims were not

arbitrable. The court went out of its way, however, to distinguish its circumstance from typical

motions for preliminary injunctions, confirming the rule “that a district court may not evade the

traditional requirements of an injunction by purporting to issue what is, in effect, a preliminary

injunction under the All Writs Act.” Id. at 1101 n.13.

       Here, Plaintiffs ask not for an injunction to enforce a prior order of the court or to ward

off competing proceedings that would endanger its jurisdiction. Instead, Plaintiffs ask the Court

to enjoin the Executive Branch’s operation of the Institute based on their belief that they should

be reinstated as the board and president of the Institute. That is classic preliminary injunctive

relief, which requires the Court to find in Plaintiffs’ favor on the Winter factors. Plaintiffs have

not attempted to make that showing in their Motion, and thus, their Motion should be denied.

III.   Plaintiffs’ Terminations Were Lawful

       As Defendants will demonstrate in their forthcoming motion for summary judgment, the

President acted comfortably within his authority to remove the former board members, and the

current board members acted comfortably within their discretion to remove Moose as president

of the Institute.    That is, Plaintiffs’ claims are all premised on them being improperly

terminated—a premise that fails a as a matter of law. As such, Plaintiffs are entitled to no relief

in this action, preliminarily or otherwise.

       As Defendants noted in opposing Plaintiffs’ motion for a temporary restraining, the

statute that Plaintiffs cite suggesting that Institute directors were improperly removed, 22 U.S.C.


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§ 4605(f), does not purport to restrict the President’s Article II powers to remove Executive

Branch officers and employees performing executive actions. Instead, it provides a removal

procedure in addition to the President’s constitutional power to remove the directors at will.

Indeed, when President Reagan signed the Defense Authorization Act of 1985, which created the

Institute, he included a signing statement noting: “The act establishes the United States Institute

of Peace. I have been advised by the Attorney General that section 1706(f), relating to the

President's power to remove members of the Board of Directors of the Institute, is neither

intended to, nor has the effect of, restricting the President’s constitutional power to remove those

officers.” Statement on Signing the Department of Defense Authorization Act, 1985 (Oct. 19,

1984),       available   at:    https://www.reaganlibrary.gov/archives/speech/statement-signing-

department-defense-authorization-act-1985.

         While Congress may limit the grounds upon which the President may remove officers of

the United States who perform quasi-judicial and quasi-legislative functions, Humphrey’s

Executor, 295 U.S. at 602, it may not do so with respect to executive officers who do not

perform such functions, Myers, 272 U.S. at 52. Defendants direct the court to Judge Walker’s

analysis of this issue from last Friday in Harris, 2025 U.S. App. LEXIS 7301, at *6–49, which

dispels the notion that the former board members here were improperly removed by the

Executive.

IV.      The Transfer of Property Here Was Lawful.

         The Institute’s actions to transfer its excess property to another executive agency are

entirely consistent with the law. As discussed above, the Institute is a wholly owned corporation

of the United States. That is, its organic statute identifies it to be a corporation established by the

United States. 22 U.S.C. §§ 4603(a), (b). Its organic statute also makes clear it is owned by the

United States—the United States created it, id., the United States controls its board, id. § 4605,


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the Institute is prohibited from issuing any other shares, id. § 4603(b), the Institute is prohibited

from receiving non-governmental sums to fund it operations, id. § 4604(h)(3), and the United

States retains title to the Institute’s assets upon its dissolution, id. § 4610. Because it is a

government corporation, the Institute is an “executive agency.” 5 U.S.C. § 105; 40 U.S.C.

§ 621(4)(B); 40 U.S.C. § 524(c).

       Accordingly, under the Federal Property Act, 40 U.S.C. § 524(a)(5), the Institute is

authorized directed to “transfer or dispose of excess property as promptly as possible in

accordance with authority delegated and regulations prescribed by the Administrator” of GSA.

Id. Under that authority, and consistent with the Executive Order, the Institute has transferred its

real property located 2301 Constitution Avenue, NW, Washington, DC 20037, to GSA. See

Request for Transfer Form 1334, Exhibit 1 hereto (“Opp’n Ex. 1”). That transfer was approved

by the Institute’s board. Board Resolution of Mar. 25, 2025, Opp’n Ex. 2. The Institute’s

current president authorized the transfer. Cavanaugh Letter, Opp’n Ex. 3. And the Office of

Management and Budget approved the terms of the transfer consistent with 40 U.S.C. § 522 and

41 C.F.R. §§ 102-75.205(b) and 102-75.225. Vought Letter, Opp’n Ex. 4.

       In short, the Institute is an executive agency and has decided consistent with the

Executive Order and its statutory authority to transfer its excess property to GSA. The Institute

did so lawfully and with the full authorization of its board, its president, the Director of the

Office of Management and Budget, and GSA. Plaintiffs’ attempt to set aside that transfer after-

the-fact should be rejected by the Court.




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                                      CONCLUSION

      For the foregoing reasons, the Court should deny Plaintiffs’ Motion.

Dated: March 31, 2025                        Respectfully submitted,
       Washington, DC
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